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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                    )
 In re:                                                             )    Chapter 11
                                                                    )
 YELLOW CORPORATION, et al.,t                                       )    Case No. 23-11069 (CTG)
                                                                    )
                            Debtors.                                )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. 617

                  DECLARATION OF DISINTERESTEDNESS
           OF HEMENWAY & BARNES LLP PURSUANT TO THE ORDER
          AUTHORIZING THE DEBTORS TO RETAIN AND COMPENSATE
       PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

I, Stephen W. Kidder, declare under penalty of perjury:

          1.      I am a Partner of Hemenway & Barnes LLP, located at 75 State Street, Boston, MA

02109 (the "Firm").

          2.      Yellow Corporation and certain of its affiliates, as debtors and debtors inpossession

(collectively, the "Debtors"), have requested that the Firm provide litigation services to the

Debtors, and the Firm has consented to provide such services.

          3.      The Firm may have performed services in the past, may currently perform services,

and may perform services in the future in matters unrelated to these chapter 11 cases for persons

that are parties in interest in the Debtors' chapter 11 cases. The Firm does not, however, perform

services for any such person relating to these chapter 11 cases, or have any relationship with any

such person, their attorneys, or their accountants that would be adverse to the Debtors or

their estates.



    A complete list of each of the Debtors in these chapter I I cases may be obtained on the website of the Debtors'
    claims and noticing agent at https://dm.epiql l.com/YellowComoration. The location of the Debtors' principal
    place ofbusiness and the Debtors' service address in these chapter I 1 cases is: 1 1500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.
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        4,       As part of its customary practice, the Firm is retained in cases, proceedings, and

transactions involving many different parties, some of whom may represent or be employed by the

Debtors, claimants, and parties in interest in these chapter 11 cases.

        5.       Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm, insofar as I have been able to ascertain is a relative of the United States Bankruptcy

Judge assigned to these chapter 11 cases, and the Firm does not have a connection with the United

States Bankruptcy Judge that would render the Firm's retention in these chapter I 1 cases improper.

Further, the Firm does not have any connection with the Office of the United States Trustee for

the District of Delaware (the o'U.S. Trustee"), or any persons employed by the U.S. Trustee.

       6.       Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm, has agreed to share or will share any portion of the compensation to be received from

the Debtors with any other person other than the principal and regular employees of the Firm.

       7   .    Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm, insofar as I have been able to ascertain, holds or represents any interest adverse to

the Debtors or their estates with respect to the matter(s) upon which the Firm is to be employed.

       8.       The Debtors do not owe the Firm for any prepetition services.

       9.       As of the Petition Date, which was the date on which the Debtors commenced these

chapter I I cases, the Firm was not party to an agreement for indemnification with certain of the

Debtors. I have reviewed the OCP Order and Procedures and understand that the indemnification

provisions set forth in the Agreement are subject, during the pendency of the Debtors' chapter 11

cases, to the modifications set forth in the OCP Order and Procedures.

       10.      The Firm has read the OCP Order and Procedures and understands the limitation

on compensation and reimbursement of expenses thereunder. Specifically, the Firm understands


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that in the event it exceeds the applicable cap, the Firm will be required to file with the Court a fee

application for the amount of its fees and expenses in accordance with sections 330 and 331 of the

Banlruptcy Code, the Bankruptcy Rules, the Local Rules, and any applicable order of the Court.

        1   1.     The Firm is conducting further inquiries regarding its retention by any creditors of

the Debtors, and upon conclusion of that inquiry, or at any time during the period of its

employment, if the Firm should discover any facts bearing on the matters described herein, the

Firm will supplement the information contained in this Declaration.

       Pursuant to 28 U.S.C. 5 1746,I declare under penalty of perjury that the foregoing is true

and correct.

 Date: October23,2023

                                                   Stephen W. Kidder, Esq




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